                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN THE MATTER OF:

DARRELL MOCCIA and                                                 Chapter 7
DARLENE MOCCIA,                                                    Case No. 18-41117-TJT
                                                                   Hon. Thomas J. Tucker
          Debtors.
                                    /


                MOTION FOR ORDER AUTHORIZING COMPROMISE
          OF NON-EXEMPT EQUITY IN PROPERTY AND FOR ABANDONMENT

          Gene R. Kohut the Chapter 7 Trustee of Darrell Moccia and Darlene Moccia, by his

attorneys Gold, Lange & Majoros, P.C., submits this motion pursuant to Fed. R. Bankr. P.

9019(a), 6007(a), & 9014 for entry of an order authorizing the Trustee to compromise the

bankruptcy estate’s claims for non-exempt equity in property and for abandonment. (See Exhibit

1).

          IN SUPPORT of this motion, the Trustee states:

                                           Jurisdiction

          1.     This is a contested matter brought pursuant to Fed. R. Bankr. P. 9014 & 9019(a),

11 U.S.C. § 554(a) and E.D. Mich. LBR 7041-1.

          2.     This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A) & (E) over which

this court has jurisdiction pursuant to 28 U.S.C. § 1334 and 28 U.S.C. § 157(b)(1).

                                                Facts

          3.     On January 30, 2018, Darrell Moccia and Darlene Moccia (“the debtor”) filed a

voluntary petition under Chapter 7 of the Bankruptcy Code (“the petition date”).




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        4.      Gene R. Kohut is the duly appointed Chapter 7 Trustee of the debtors’ estate

(“Trustee”).

        5.      The Trustee investigated the debtors’ financial affairs as well as the nature and

value of the estate’s interest in property.

        6.      As a result of the investigation, the Trustee identified the following property

interests to be pursued, liquidated, or compromised involving the debtors:

                a.      The bankruptcy estate’s 100% shareholder interest in MacClaren

                        Transportation and Produce Services, Inc., a trucking brokerage business.

                b.      An alleged shareholder loan of $21,949.90 owed to the bankruptcy estate

                        by MacClaren Transportation and Produce Services, Inc. On October 17,

                        2018, the Trustee filed a complaint against the company for a money

                        judgment to collect the loan.

        7.      The company filed an answer to the complaint denying any liability. The debtors

assert that the stock in MacClaren Transportation and Produce Services, Inc. is worthless given

outstanding claims against the company by disgruntled customers. The Trustee also notes that

MacClaren Transportation and Produce Services, Inc. is essentially a personal service company

dependent upon the continued services of the debtors to remain in operation.

        8.      The Trustee, MacClaren Transportation and Produce Services, Inc. and the

debtors have agreed to entry of the attached proposed order, subject to court approval, providing

for a payment of $16,000.00 to the bankruptcy estate in exchange for a release all of the

Trustee’s claims against the MacClaren Transportation and Produce Services, Inc. and for

abandonment of the estate’s shareholder interest.




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       9.      In connection with the investigation of debtors’ financial affairs, the Trustee has

conducted discovery. The case was not referred to the United States Trustee's Office for civil or

criminal action.

       10.     The settlement between the parties is memorialized in the written Stipulation for

Entry of Order Authorizing Compromise Non-exempt Equity In property and For Abandonment

between the parties previously filed with the Court. There were two (2) orders entered extending

the deadline for objections to discharge to August 20, 2018.

       11.     There are no funds in the estate. To date, professional fees of Trustee’s counsel

total approximately $6,000.00. At the closing of the case Trustee’s counsel has agreed to

voluntarily reduce fees, as may be necessary, to limit administrative expenses consistent with

U.S. Trustee guidelines in order to provide a dividend to creditors.

       12.     The proposed settlement will allow the Trustee to pay administrative expenses

and make a distribution to unsecured creditors.

                                             Argument

       13.     The Trustee believes that this settlement is in the best interests of the bankruptcy

estate and its creditors for the reasons that, among others, the settlement saves the time and costs

of litigation, avoids the risk of adverse decisions, and results in a favorable settlement.

       14.     The Sixth Circuit Bankruptcy Appellate Panel has held that the bankruptcy court

may approve a settlement if it is fair and equitable. Olson v. Anderson, 377 B.R. 865, 870

(B.A.P. 6th Cir. 2007).

       15.     The Sixth Circuit Bankruptcy Appellate Panel has also held that “[t]he court must

weigh the conflicting interests of all relevant parties, ‘considering such factors as the probability

of success on the merits, the complexity and expense of litigation, and the reasonable views of




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creditors.’” Id. at 870-871 (citing Bauer v. Commerce Union Bank, 859 F.2d 438, 441 (6th Cir.

1988).

         16.      The Trustee, in recommending that this Court approve the proposed compromise,

has given due weight to the three (3) criteria set forth above and believes that the proposed

compromise is fair, equitable and in the best interest of all interested parties.

         WHEREFORE, the Trustee requests that this Court enter an order approving a

compromise and permitting the Trustee to execute any further documents necessary to

consummate the compromise.



                                                        Respectfully Submitted,

                                                        GOLD, LANGE & MAJOROS, P.C.

Dated: March 5, 2019                                    /s/ Elias T. Majoros
                                                        ELIAS T. MAJOROS
                                                        Attorneys for Trustee
                                                        24901 Northwestern Highway, Suite 444
                                                        Southfield, Michigan 48075
                                                        (248) 350-8220
                                                        emajoros@glmpc.com
                                                        (P41040)

H:\GLM OTHER TRUSTEES\Moccia, Darrell & Darlene (Kohut)\Compromise\Motion to Compromise Claims.pko.docx




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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

IN THE MATTER OF:

DARRELL MOCCIA and                                                  Chapter 7
DARLENE MOCCIA,                                                     Case No. 18-41117-TJT
                                                                    Hon. Thomas J. Tucker
       Debtors.
                                   /


                    ORDER AUTHORIZING COMPROMISE OF
            NON-EXEMPT EQUITY IN PROPERTY AND FOR ABANDONMENT

       This matter came before the Court upon the Stipulation for Entry of Order Authorizing

Compromise of Non-Exempt Equity in Property and For Abandonment (Athe Stipulation@) and

the Motion for Order Authorizing Trustee to Compromise Non-Exempt Equity in Property and

For Abandonment (Athe Motion@). The Motion and related notice to creditors were served on all

parties on the matrix of creditors and the U.S. Trustee. No objections to the Motion were timely

filed and served. The Court finds the relief requested is in the best interest of the bankruptcy

estate, creditors and other parties in interest.     This Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157(b)(1) and 1334. This proceeding is a core proceeding pursuant to

28 U.S.C. §§ 157(b)(2)(E). Venue of this proceeding and the Motion in this District is proper

pursuant to 28 U.S.C. §§ 1408 and 1409. The Court being otherwise duly advised in the

premises.

       IT IS HEREBY ORDERED as follows:

       1.      The Motion is granted.



                                        EXHIBIT 1



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       2.      MacClaren Transportation and Produce Services, Inc. and the debtors are jointly

and severally liable to and shall pay the bankruptcy estate $16,000.00 (Athe Liability@).

MacClaren Transportation and Produce Services, Inc. and the debtors shall pay the bankruptcy

estate an initial payment of $10,000.00 upon execution of the Stipulation (“the initial payment”).

MacClaren Transportation and Produce Services, Inc. and the debtors shall pay the balance of the

Liability in consecutive equal monthly payments of $750.00 starting on April 1, 2019 and on the

1st day of each consecutive month thereafter until the Liability is satisfied. All checks shall be

made payable to AGene Kohut, Trustee of Moccia@ and delivered in c/o Elias T. Majoros, Gold,

Lange & Majoros, P.C., 24901 Northwestern Hwy., Suite 444, Southfield, Michigan 48075. In

the event of any default, the Trustee shall provide MacClaren Transportation and Produce

Services, Inc. and the debtors with written notice of default. If the default is not cured within ten

(10) calendar days after the date on which Trustee serves his written notice of default, then this

Order will then constitute a judgment pursuant to Fed. R. Civ. P. 69(a) permitting the Trustee to

take collection action against MacClaren Transportation and Produce Services, Inc. and the

debtors for the balance of the Liability along with reasonable attorney’s fees incurred in

collection of the Liability following default.

       3.      Upon satisfaction of the Liability under this Order, the Trustee and bankruptcy

estate waive and release any claims for unpaid shareholder loans against MacClaren

Transportation and Produce Services, Inc. Further, upon satisfaction of the Liability under this

Order, the Trustee and bankruptcy estate shall be deemed to have abandoned the bankruptcy

estate’s shareholder interest in MacClaren Transportation and Produce Services, Inc.

       4.      Upon satisfaction of the Liability under this Order, the Trustee and bankruptcy

estate waives and releases any claims against the debtors for all property listed on Schedule A/B.




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       5.     After the parties have executed the Stipulation the Trustee shall promptly file a

Notice of Pending Settlement in adversary proceeding number 18-04487.

       6.     Upon entry of this Order and the Trustee’s receipt of the initial payment, the

Trustee will dismiss his complaint against MacClaren Transportation and Produce Services, Inc.

in adversary proceeding number 18-04487 with prejudice and without costs to either party.

       7.     The Trustee may execute such documents and agreements and perform such acts

on behalf of the bankruptcy estate, as may be necessary and appropriate to implement, effectuate,

and consummate the provisions of this order.

       8.     Notwithstanding the provisions of Rule 62(a) of the Federal Rules of Civil

Procedure and/or any other applicable rule or statutory provision, this Order shall not be stayed

for fourteen (14) days after the entry hereof, but shall be effective and enforceable immediately

upon entry hereof.




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Form B20A (Official Form 20A)
Revised 12/1/16
                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

IN THE MATTER OF:

DARRELL MOCCIA and                                                                   Chapter 7
DARLENE MOCCIA,                                                                      Case No. 18-41117-TJT
                                                                                     Hon. Thomas J. Tucker
           Debtors.
                                           /
2140 Sheraton
Trenton, MI 48183
xxx-xx-0594
xxx-xx-3420

            NOTICE OF MOTION FOR ORDER AUTHORIZING COMPROMISE
           OF NON-EXEMPT EQUITY IN PROPERTY AND FOR ABANDONMENT

        Gene R. Kohut, the Chapter 7 Trustee of Darrell Moccia and Darlene Moccia, has filed a
Motion for Order Authorizing Compromise of Non-Exempt Equity in Property and For
Abandonment. The Trustee has agreed to resolve his claims against MacClaren Transportation
and Produce Services, Inc., and abandon the estate’s shareholder interest in MacClaren
Transportation and Produce Services, Inc., subject to bankruptcy court approval, in exchange for
payment of $16,000.00 to the bankruptcy estate. The settlement will allow the Trustee to pay
administrative expenses and make a distribution to unsecured creditors. The Trustee believes
that the proposed compromise is fair, reasonable, and in the best interest of the bankruptcy estate
and creditors.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

        If you do not want the court to grant the relief sought in the motion or if you want the
court to consider your views on the motion, within 21 days, you or your attorney must:

1.         File with the court a written objection or request for hearing, explaining your position,
at:1




1
    Objection or request for hearing must comply with F.R.Civ.P. 8(b), (c) and (e)

                                                  EXHIBIT 2


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                                         United States Bankruptcy Court
                                         211 W. Fort Street, Suite 1700
                                            Detroit, Michigan 48226

        If you mail your objection or request for hearing to the court for filing, you must mail it
early enough so that the court will receive it on or before the date stated above. All attorneys are
required to file pleadings electronically.

         You must also send a copy to:

                                           Elias T. Majoros, Esq.
                                        Gold, Lange & Majoros, P.C.
                                   24901 Northwestern Highway, Suite 444
                                        Southfield, Michigan 48075

2.     If an objection or request for hearing is timely filed and served, the clerk will schedule a
hearing on the motion and you will be served with a notice of the date, time and location of the
hearing.

       If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief.

                                                        GOLD, LANGE & MAJOROS, P.C.


Dated: March 5, 2019                                    /s/ Elias T. Majoros
                                                        ELIAS T. MAJOROS
                                                        Attorneys for Trustee
                                                        24901 Northwestern Highway, Suite 444
                                                        Southfield, Michigan 48075
                                                        (248) 350-8220
                                                        emajoros@glmpc.com
                                                        (P41040)
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                                  EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

IN THE MATTER OF:

DARRELL MOCCIA and                                                                   Chapter 7
DARLENE MOCCIA,                                                                      Case No. 18-41117-TJT
                                                                                     Hon. Thomas J. Tucker
         Debtors.
                                          /

                                         CERTIFICATE OF SERVICE

        I hereby certify that on March 5, 2019, I electronically filed 1) Motion For Order Authorizing
Compromise Of Non-Exempt Equity In Property and For Abandonment; 2) Notice of Motion For
Order Authorizing Compromise Of Non-Exempt Equity In Property and For Abandonment; and 3)
Certificate of Service with the Clerk of the Court using the ECF system which will send notification
of such filing to the following:

Office of the U.S. Trustee                                     Gene R. Kohut, Esq.
211 W. Fort Street, Suite 700                                  Kohut Law Group, PLLC
Detroit, MI 48226                                              17000 Kercheval Ave., Suite 210
                                                               Grosse Pointe, MI 48230-1570



and I also hereby certify that I have mailed by First Class Mail with the United States Postal Service
Notice of Motion For Order Authorizing Compromise Of Non-Exempt Equity In Property and For
Abandonment to the following non-ECF participants:

         All parties listed on the matrix of creditors.


Dated: March 5, 2019                                    /s/ Elias T. Majoros
                                                        ELIAS T. MAJOROS
                                                        Attorneys for Trustee
                                                        24901 Northwestern Highway, Suite 444
                                                        Southfield, Michigan 48075
                                                        (248) 350-8220
                                                        emajoros@glmpc.com
                                                        (P41040)
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                                                  EXHIBIT 4




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